         Case 2:19-cv-00793-JDW Document 20 Filed 07/29/19 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA




 ALISHA GATEWOOD,
           Plaintiff                                CIVIL ACTION
                                                    Case No. 2:19-cv-00793-JDW
        v.

 INGLIS HOUSE,
           Defendant


                                            ORDER

       AND NOW, this 29th day of July, 2019, upon notice that the Parties have resolved the

above-captioned matter, it is hereby ORDERED that Plaintiff’s action is DISMISSED WITH

PREJUDICE, pursuant to Federal Rule of Civil Procedure 41(a)(2) and Local Rule of Civil

Procedure 41.1(b). Each party shall bear his or its own costs and attorneys’ fees.



                                                     BY THE COURT:


                                                     /s/ Joshua D. Wolson
                                                     JOSHUA D. WOLSON, J.
